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                          UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF CALIFORNIA

                                     MEMORANDUM

Honorable Oliver W. Wanger
Senior United States District Judge
Fresno, California

                             RE:    Maria Isabel LOPEZ
                                    Docket Number: 1:03CR05204-02
                                    PERMISSION TO TRAVEL OUTSIDE THE COUNTRY

Your Honor:

The releasee is requesting permission to travel to Mexico. She is current with all supervision
obligations, and the probation officer recommends approval be granted.


Conviction and Sentencing Date: On June 28, 2004, Maria Isabel Lopez was sentenced
for the offense(s) of 21 USC 846 and 841(a)(1) and (b)(1)(A) and 18 USC 2 - Conspiracy to
Manufacture and Distribute Methamphetamine and Aiding and Abetting (CLASS A FELONY).


Sentence imposed: 37 months custody; 60-month term of supervised release; $100 special
assessment (paid). Special conditions include: Search; Drug/alcohol treatment and testing
(successfully completed); Pager/cellular phone restrictions; and Aftercare co-payment.


Dates and Mode of Travel: No travel plan scheduled at this time, awaiting approval of the
Court before arrangements are made.


Purpose: Mrs. Lopez would like the opportunity to travel to Mexico, to seek less expensive
but highly needed dental work. Based on the foregoing, it is the undersigned's request that
Your Honor grant the above-noted travel. In addition, it is also requested Your Honor provide
the probation officer with the discretion to authorize any future travel by the offender to Mexico,
without further Court notification. If allowed to travel out of the country under the following
noted conditions, the offender will be instructed to report to the United States Department of
Homeland Security, or other authorized representative, upon her entry and exit from Mexico.

                                    Respectfully Submitted,
                                    /s/ Phil R. Hendley, Jr.

                                     Phil R. Hendley, Jr.
                               United States Probation Officer

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 RE:     Maria Isabel LOPEZ
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DATED:       August 27, 2008
             Modesto, California
             PRH/lr


REVIEWED BY:        /s/ Deborah A. Spencer
                    Deborah A. Spencer
                    Supervising United States Probation Officer



ORDER OF THE COURT:

Approved            X                         Disapproved


IT IS SO ORDERED.

Dated: August 28, 2008                    /s/ Oliver W. Wanger
emm0d6                               UNITED STATES DISTRICT JUDGE




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